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  May 10, 2023

  BY ECF

  The Honorable Vera M. Scanlon
  U.S. District Court for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:      Henkin, et al. v. Qatar Charity, et al., 1:21-cv-05716-AMD-VMS

  Dear Magistrate Judge Scanlon:

          We write on behalf of Defendants Masraf Al Rayan (“MAR”) and Qatar Charity (“QC”)
  in the above-captioned action further to Your Honor’s order dated April 5, 2023 for a joint letter
  with a detailed proposed schedule for discovery. We respectfully request an adjournment of this
  deadline, as well as the discovery conference scheduled for May 16, 2023.

          On March 31, 2023, Judge Donnelly denied MAR’s and QC’s motions to dismiss without
  prejudice to Defendants renewing their motions if discovery did not substantiate plaintiffs’
  assertion of personal jurisdiction. (ECF No. 81). Earlier today, MAR and QC each filed letter
  motions for pre-motion conferences seeking to renew their respective motions to dismiss pursuant
  to Judge Donnelly’s Individual Practices and Rules in light of unauthorized discovery taken by
  Plaintiffs of non-party Bank of New York Mellon. That discovery was provided yesterday, May
  9, 2023.1 Copies of those letters are attached hereto.

          This is Defendants’ first request for an adjournment. With the Court’s permission,
  Defendants propose providing suggested adjournment dates that suit all parties following
  resolution of MAR’s and QC’s letter motions if a rescheduled conference is appropriate. Plaintiffs
  do not consent to this request.




  1
   Because the parties were not in receipt of the unauthorized discovery within two business days of today’s deadline,
  Defendants were unable to seek an extension no later than two business days in advance of the deadline.


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                                          Respectfully submitted,

                                          /s/ Carolina A. Fornos
                                          Carolina A. Fornos
                                          Aryeh L. Kaplan (pro hac vice)

                                          Counsel for Defendant Masraf Al Rayan

  cc: All counsel of record (by ECF)
